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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1481V
                                          UNPUBLISHED


    NIKKI AUNE,                                                 Chief Special Master Corcoran

                         Petitioner,                            Filed: February 12, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Hepatitis B (Hep B) Vaccine;
                                                                Shoulder Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for petitioner.

Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On September 25, 2019, Nikki Aune filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table Injury – Shoulder Injury
Related to Vaccine Administration (“SIRVA”) – as a result of her hepatitis B vaccination
on December 15, 2017. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

        On February 12, 2021, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On February 10, 2021, Respondent filed a proffer on
award of compensation indicating Petitioner should be awarded $55,187.90. The award
is comprised of the following: $55,000.00 for pain and suffering, and $187.90 for past
unreimbursable expenses. Respondent’s Rule 4(c) Report and Proffer on Damages

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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(“Proffer”) at 5-6. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the Proffer, I award Petitioner a lump sum
payment of $55,187.90 (representing an award of $55,000.00 for pain and suffering,
and $187.90 for past unreimbursable expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
